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                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF KENTUCKY
                                       LONDON DIVISION

                                                      :
In re:                                                :         Chapter 11
                                                      :
Americore Holdings, LLC, et al.1                      :         Case No. 19-61608 (GRS)
                                                      :
                                    Debtors           :         (Jointly Administered)
                                                      :
                                                      :         Honorable Gregory R. Schaaf
                                                      :


              JOINT MOTION TO EXTEND SCHEDULING ORDER DEADLINES


         Pelorus Equity Group, Inc. (“Pelorus”), by counsel, as agent and broker for certain lenders,

and together with the Carol L. Fox, Chapter 11 Trustee (the “Trustee,” and with Pelorus, the

“Parties,” and each a “Party”) hereby move the Court (the “Motion”) for the entry of an order

extending certain deadlines set in the Order Scheduling Evidentiary Hearing [ECF No. 554] (the

“Scheduling Order”), as set forth in the Agreed Order filed herewith. In further support of the

Motion, the Parties respectfully represent:

         1.       This Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334.

This is a core proceeding under 28 U.S.C. § 157(b). Venue is proper in this district pursuant to

28 U.S.C. §§ 1408 and 1409.




1
  The “Debtors” in these Chapter 11 cases are (with the last four digits of their federal tax identification numbers in
parentheses): Americore Holdings, LLC (0115); Americore Health, LLC (6554); Americore Health Enterprises, LLC
(3887); Ellwood Medical Center, LLC (1900); Ellwood Medical Center Real Estate, LLC (8799) Ellwood Medical
Center Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard County Medical Center, LLC (3388);
Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610); and St. Alexius Hospital Corporation #1
(2766).
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       2.      On May 15, 2020, the Court entered the Scheduling Order setting an evidentiary

hearing and establishing certain deadlines related to Penn Med, LLC’s Motion for Relief from the

Automatic Stay [ECF No. 176] (the “Penn Med Motion”) and related Objections [ECF Nos. 224,

231, 234, 456]. The Scheduling Order provided that “the deadlines may be modified to run

concurrent with the approval of any sale of the subject property if applicable.”

       3.      On June 26, 2020, the Court rescheduled the hearing on Penn Med Motion to July

29, 2020.

       4.      On June 29, 2020, the Trustee filed a Notice of Modified Bid Procedures (Ellwood)

[ECF No. 699] changing the timeline for the sales of the assets of Ellwood Medical Center, LLC,

Ellwood Medical Center Real Estate, LLC, and Ellwood Medical Center Operations, LLC; these

assets include those which are the subject of the Penn Med Motion.

       5.      In the meantime, Pelorus has purchased the claims of Penn Med, LLC and will be

filing a Notice of Transfer of Claims. These claims underlie the Penn Med Motion. Pelorus will

be proceeding with the hearing on the Penn Med Motion as previously set by the Court.

       6.      In order to allow the relevant deadlines “to run concurrent with the approval of any

sale of the subject property” and to permit the Parties the opportunity to address sale issues

efficiently and then timely submit required pre-hearing materials, if they are necessary, the Parties

seek the requested relief herein. Given the current sales timeline and the fact that the Parties are

not seeking any unnecessary delay, they believe good cause exists for the relief requested.

       WHEREFORE, Pelorus requests that the Court enter an order granting the Motion,

extending certain deadlines as set forth in the proposed Agreed Scheduling Order filed

contemporaneously herewith, and ordering such other and further relief as may be just and proper.




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                                             NOTICE

         Pursuant to Local Rule 9013-1, the Court may enter the relief requested in the Motion

without further notice or a hearing.


                                                      Respectfully submitted,

                                                      /s/ Adam M. Back
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                                                      Timothy R. Wiseman, KY Bar No. 95072
                                                      Amelia M. Adams, KY Bar No. 93038
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                                                      And

                                                      /s/ Tiffany Payne Geyer (with permission)
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                                                      Counsel for the Chapter 11 Trustee

                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been electronically filed and served via the
Court’s Electronic Case Filing System on July 9, 2020.

                                                      /s/ Adam M. Back
                                                      Counsel for Pelorus Equity Group, Inc.

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